 Case 3:15-md-02670-JLS-MDD Document 1395 Filed 09/27/18 PageID.93323 Page 1 of 2


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 6                           UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                         Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                     ORDER GRANTING JOINT
11                                                   MOTION TO FILE OVERLENGTH
                                                     BRIEF BY DEFENDANTS
12
                                                     (ECF No. 1392)
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14
15         Presently before the Court is a Joint Motion by Defendants Bumble Bee Foods,
16   LLC, Star Kist Co. and Dongwon Industries Co., Ltd., Del Monte Corporation, and Tri-
17   Union Seafoods LLC d/b/a Chicken of the Sea International (collectively, “Defendants”),
18   and the Indirect Purchaser End Payer Class Plaintiffs, and the Indirect Purchaser
19   Commercial Food Preparer Class Plaintiffs (collectively, “Class Plaintiffs”), for approval
20   of stipulation regarding the length of memoranda in support of the Defendants’
21   Oppositions to Class Plaintiffs’ Motions for Class Certification (ECF Nos. 1130 and
22   1143).
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 Case 3:15-md-02670-JLS-MDD Document 1395 Filed 09/27/18 PageID.93324 Page 2 of 2


 1         The parties conferred and agreed that Defendants may file briefs in support of their
 2   Opposition to Class Plaintiff’s respective Motions for Class Certification not more than
 3   fifty (50) pages in length.
 4         Good cause appearing, the Court GRANTS the Joint Motion.
 5         IT IS SO ORDERED.
 6   Dated: September 27, 2018
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